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                                         Case No. 24-5588

                             UNITED STATES COURT OF APPEALS
                                  FOR THE SIXTH CIRCUIT

                                              ORDER

STATE OF TENNESSEE; COMMONWEALTH OF KENTUCKY; STATE OF OHIO; STATE
OF INDIANA; COMMONWEALTH OF VIRGINIA; STATE OF WEST VIRGINIA

              Plaintiffs - Appellees

CHRISTIAN EDUCATORS ASSOCIATION INTERNATIONAL; A.C., by her next friend and
mother Next Friend, Abigail Cross

              Intervenors - Plaintiffs - Appellees

v.

MIGUEL CARDONA, in his official capacity as Secretary of Education; U.S. DEPARTMENT
OF EDUCATION;

              Defendants - Appellants



     Upon consideration of the motion filed by Organizations serving Pregnant and Parenting

Students for leave to file a late amicus brief in support of defendants-appellants’ emergency

motion for a partial stay,


     It is ORDERED that the motion be, and it hereby is GRANTED.




                                                     ENTERED BY ORDER OF THE COURT
                                                     Kelly L. Stephens, Clerk


Issued: July 17, 2024
